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IN THE CIRCUIT COURT OF PANOLA COUNTY, MISSISSIPPI
SECOND JUDICIAL DISTRICT

HENRY FRANK HALL PLAINTIFF

vs. ` No. Qv' ‘211\4- \L\':W\PB/

LIBERTY MUTUAL GROUP, INC., THE OHIO

CASUALTY INSURANCE COMPANY, MONTGOMERY

INSURANCE, LIBERTY MUTUAL INSURANCE,

FICTITIOUS DEFENDANTS X,Y AND Z DEFENDANT
§ML_WLI`.

COMES NOW the Plaintiff, Henry Frank Hall (Henry), by and
through his attorney and files this his Complaint against the
Defendants, Liberty Mutual Group, Inc., The Ohio Casualty Insurance
Company, Montgomery Insurance, Liberty Mutual Insurance and
fictitious defendants X, Y and Z (collectively referred to herein
as Liberty Mutual) and as basis therefor would respectfully show
unto the Court the following:

. I,

Henry is an adult resident citizen of Baldwyn, Lee County,
Mississippi having as his post office and street address 337 Lake
Drive, Baldwyn, Mississippi 38824.

Defendant, Liberty Mutual¢Group, Inc., is a Massachusetts
insurance corporation having its principal place of business
located at 175 Berkeley Street, Bostonr Massaohusetts 02116. The
Ohio Casualty Insurance Company (Ohio), is a Liberty Mutual Company
having a home office located at 62 Maple Avenue, Keene, New
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Hampshire 03431. Ohio has the same mailing address as above stated
for Liberty Mutual Group, Inc.

Montgomery Insurance is not listed with the Insurance
Commission of the State of Mississippi, but on information and
belief, is also a Liberty Mutual Company.

'Liberty Mutual Group, Inc., and The Ohio Casualty Insurance
Company have both qualified to do business in the state of
Mississippi and both have appointed as their registered agent for
service of process upon whom process may be had in this cause
CORPORATION SERVICE COMPANY (a/k/a United States Corporation
Company), 506 South President Street, Jackson, MS 39201,

All of said Defendants operate their various insurance
companies under the Liberty Mutual Insurance name and all are
members or subsidiaries of Liberty Mutual Group, Inc.

Fictitious Defendants X, Y and Z are any other entity unnamed
herein affording coverage or benefits to Henry for the accident
hereinafter set forth or who afforded coverage providing those
benefits to him for injuries he sustained in the accident herein
described under a policy or policies of insurance covering the host
vehicle whose names will be added herein once ascertained.

II.

On or about February 9, 2011, Henry was in a motor vehicle

accident which occurred in Panola County, Mississippi from which

accident he suffered injuries as hereinafter set forth. This case

 

 

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concerns said accident and a policy or policies of insurance issued
by Liberty Mutual providing Coverage on the vehicle in which Henry
was a guest passenger which afford certain benefits including
uninsured/underinsured motorist coverage to Henry pertaining to
that accident. Therefore, this Court has jurisdiction of the
parties and the subject matter involved.

III.

As aforementioned, on or about February 9, 2011, Henry was a
guest passenger in a motor vehicle owned by a Mississippi
corporation, Delta Constructors, Inc., Henry’s employer (Delta).
Said vehicle was being operated by another employee of Delta, Ed
Simmons, Henry’s superior. Said vehicle was stopped heading
southbound on the shoulder of U.S. Highway 55, which at said point
is a four~lane paved interstate highway with two lanes designated
for southbound traffic and two lanes designated for northbound
traffic. At said time and place, a vehicle being operated by
Norman K. Snow (Bnow), an adult resident citizen of Southaven,
Mississippi, was traveling southbound on U.S. Highway 55. Snow
suddenly and without warning drove his vehicle into the vehicle of
the Delta vehicle then and there occupied by Henry striking same
with great force and violence.

As a result of the accident and collision, Henry was tossed
hither and thither about the motor vehicle in which he was a

passenger and was severely and permanently injured. The sole

 

 

 

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proximate cause of the accident and collision and Henry's resulting
injuries was the negligence of Snow in the operation of his motor
vehicle in failing to keep his vehicle under proper control,
driving at a negligent and reckless rate of speed under the
conditions then and there prevailing, failing to keep a proper
lookout for other vehicles utilizing the roadway, driving his
vehicle into the vehicle then and there occupied by Henry, failing
to exercise all due and reasonable care in the operation of his
motor vehicle at the time of said collision, as well as other acts
of negligence.
IV.

As a result of the accident and injuries sustained by Henry
therein, Henry incurred extensive medical bills for the treatment
of his injuries and lost significant time from work. Since the
accident and collision, Henry has suffered severe physical pain and
suffering and resulting mental anguish from his new injuries and
aggravation of pre-existing conditions of Henry. His nervous
system has been greatly impaired and will ever be. The injuries
sustained by Henry were permanent in nature and duration and Henry
will continue to incur medical expenses in the future for the
treatment of said injuries all as a result of the negligence of
Snow.

V.

At the time of the accident hereinabove described, Henry was

 

 

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acting in the course and scope of his employment with Delta.
Delta’s worker's compensation carrier, Associated General
Contractors of Mississippi, Inc., paid certain benefits under their
worker's compensation coverage for the injuries sustained by Henry
in this accident, both compensation and medical benefits, and said
claim is presently before the Mississippi Worker's Compensation
Commission.`
VI.

At the time of the aforementioned accidentr Snow had an
automobile liability insurance policy with MetLife Auto and Home
(MetLife) with liability policy limits of $50,000.00 available to
Henry for the injuries sustained by' hin\ as a result of this
accident. Through their local Counsel, MetLife agreed to pay their
policy limits of $50,000.00 to settle Henry’s claims against Snow
as set forth on the letter from Thomas Y. Page, MetLife's attorney,
to Henry dated July 31, 2013, a copy of which is attached hereto as
exhibit “A”.

VII.

Further, Delta had a policy of insurance with Liberty Mutual,
(The Ohio Casualty Insurance Company), on the vehicle in which
Henry was riding which, according' to information provided. by
William Brewer, adjuster for liberty Mutual, has an aggregate
stacked coverage of uninsured/underinsured motorist benefits in the

amount of $1,000,000.00 for this accident. This information was

 

 

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provided to Henry after notice of the accident and his underinsured

claim was received by Liberty Mutual.

VIII.

Henry's damages for the injuries sustained in this accident
greatly exceed the $50,000.00 liability limits of Snow's insurance
policy with MetLife. No settlement of the underinsured claim has
been forth coming as of the filing of this suit. Further, Liberty

Mutual has made a determination that they will not waive their

lstatutory and contractual rights of subrogation against Snow as

shown by the` correspondence from_ MetLife's attorney to the
undersigned, which is attached hereto and incorporated herein by
reference as Exhibit “B”.

IX.

-The coverage of Liberty Mutual under the policy on the vehicle
in which Henry was a guest passenger affords benefits for all sums
which Henry was legally entitled to recover for damages from the
owner or operator of an uninsured/underinsured vehicle as a result
of this accident. As aforementioned, Liberty Mutual has opted not
to waive their subrogation rights against Snow and therefore, Henry
is unable to consummate any settlement with Snow's insurance
company, MetLife. As aforementioned, the damages suffered by Henry

in the accident are significantly more than the limit of liability

under the MetLife insurance policy and by virtue of applicable law,

said vehicle is underinsured. Henry is, therefore, entitled to

recover under the uninsured/underinsured motorist provisions of the

 

 

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Liberty Mutual policy on the vehicle in which he was a guest
passenger.
X.

Henry has properly presented his claim for underinsured
motorist benefits to Liberty Mutual and has performed all condition
precedent to his right to recover from them under said policy of
insurance and the uninsured/underinsured motorist provisions
thereof. Due to the nature and extent of Henry’s injuries, the
medical bills and lost wages which he has already sustained and the
medical bills and lost wages he is certain to incur in the future
because of a continuation of treatment for his injuries justify
Henry's receiving all of the uninsured/underinsured motorist
benefits available under the Liberty Mutual policy.

WHEREFORE, PREMISES CONSIDERED, Henry demands judgment against
Liberty Mutual in the sum of $1,000,000.00 for the injuries
sustained by him in the above referenced accident.

Respectfully submitted,
FERRELL & MARTIN, P. A.

POST OFFICE BOX 146
BOONEVILLE, MISSISSIPPI 38829

TELEPHONE (662) 728~5361
MISSISSIPPI BAR NO. 51

      

BY:

 

Jo n A. Ferrell `r
torney for Plaintiff

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ATTUINFYS hND cO|JNlEl.OlS AT LA\'¢'l

luly 31, 2013

'Mr. Franl< Hall
337 Lake Dr.
Baldwln, lV|ississlppi 38824

Re: `Dete of accideht: Fehruary 9 2011

Thomas Y. Page
TFAGE@F.|.GE¢I.U£¢EL£M t

Su¢ei A¢idress-
|0 Canehrake Bl\rd.. Ste. 100

jackson Mlssiss_ippi 392]1-11| __
Mdi»qil.dd'es: _
Post Oi'i'ice Box l l63

]adtson. Misslssippl 392|5-| lt

Phone (60|} 420»0331

Fax 160|] 420-0033

 

Our client: '- Norman Snow wwi>=x=wze-'-mm '
PKH No: '2213.035 - '
A meessional Assododon
Dear Mr. Hall:

Baseci on our recent telephone conversation | felt compelled to make sure you knew who |
represented and what my client, Norman Snow, and his insurance oompany, iVletLife, have

offered to do financially following your release from medical care.

This ls simply factual lnformation.

Wlthout admitting fault for the accident on the part of Mr. Snow, MetL|fe agreed to pay the
applicable liability policy limits of $50,000.00 to settle your claims against Mr. Snow. | was
retained simply to work with your workers compensation insurer’s attorney,'Lori Graham, to

make sure the Workers Comp Commission properly approved the settlement

Since that time you have called my office on a few occasions to inquire about delays in

completing the settlement processl _

_ Consistent with the short conversations you and | had, |_am confirming MetL|fe, for Mr. Snow, is
and has been ready to fund and complete the settlement with you consistent with the basic

terms set out above.

| have not and will not offer you any legal advice if you have hired an attorney or if you do hire
an attorney I will he happy _to talk with them.

` With kind regards, | am

Very truly yours,

EXHIBIT

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tVP

c: Norman Snow_
7737 Custer Cove
Southaven, NlS 38671

lulie 'lielms Clalm Number: CHF01'!33
Senior Casualty Ad luster
MetLife Auto & Home
` Po sex 410300
Char|otte, North Carollna 28241

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'subjéét: Franl< Hali v Norman snow (22-135553)
From: day Atklns (]ey. etkins@leitnerlirm. oom)

To: johneferroll@att. net;
Dal:e: Thursday. Septemher 26, 2013 2:30 PM

J'olm,

Per our call today, you arc fee to speak withthe torrance adjuster, Wiiliam Brewer at Liberty Mutual,
regarding settlement of the UIM claim His contact inf)mntion is below. You need not involve me in those
. discussions My bismicdons are to place my lite on hold unless and until you and be are unable to settle the

claim.

chanding the waiver of subrogation request my client has decided not to waive subrogation However, we
_ stand ready to advance $50, 000 to your client in consideration far an assignment of his claim against tile
tortfeasor up to that amount Of course be would have to resolve the workers’ compensation lien m order to

receive payment fi'omtbe $50, 000.

Please wait until the week after next to caler. Brewer. Plcase include his claim munbc:r on any
conespondence. '[lianlc you

Wil]la.m (Bi_il] Brewerl Seuior Specialist I[
liberty Mutual Insurance
Connuerciallnsmauce Clainr

Auto l'_.iabilily - Southeast Region

(O] 706-757~2485 (F) 888-268-8840

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'Leitnel', William, Dooley & Napo!:'tan, PLLC
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(662} 236-7705
(662) 236-7706

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